          Exhibit 71




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             IN THE UNITED STATES DISTRICT COURT
          FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
         CIVIL ACTION NO. 1:14-CV-00954-LCB-JLW


STUDENTS FOR FAIR
ADMISSIONS, INC.,
                          Plaintiff,

     vs.
UNIVERSITY OF NORTH
CAROLINA, et al.,

                          Defendants.


                _______________________________

                            DEPOSITION
                                OF
                          MICHAEL KOSOROK

     THIS DEPOSITION CONTAINS HIGHLY CONFIDENTIAL AND
  PROPRIETARY INFORMATION AND IS SUBJECT TO A PROTECTIVE
    ORDER RESTRICTING PUBLIC DISCLOSURE OF ITS CONTENTS
              _______________________________




TAKEN AT THE OFFICES OF:
THE UNIVERSITY OF NORTH CAROLINA AT CHAPEL HILL
222 East Cameron Avenue
110 Bynum Hall
Chapel Hill, NC 27514


                              11-28-18
                              8:57 A.M.
                   __________________________

                         P. Jordan Powers
                          Court Reporter

                   Civil Court Reporting, LLC
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                       Clemmons, NC 27012
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   1                     Q.      Okay.   Have you done an analysis then

   2             that after doing something like that would then

   3             attempt to put into that model a race neutral

   4             strategy that's an alternative to race and

   5             evaluating how that would work and the results ---

   6                     Q.      The data anal -- anal -- analysis

   7             subcommittee has not, using data analyzed a

   8             specific race neutral alternative.

   9                     Q.      Understood.   I think that answered my

 10              question.        Thank you.   Okay.   Can we turn to page

 11              4 of this same document -- about ---

 12                      A.      Could I clarify something?

 13                      Q.      Sure.   Absolutely.

 14                      A.      There is a data analysis that's in here

 15              that Patrick Curran did ---

 16                      Q.      Okay.

 17                      A.      --- that addresses different questions.

 18              I'm somewhat familiar with that analysis, but I do

 19              not believe it -- it -- I believe that what I said

 20              is still true for that analysis as well.

 21                      Q.      Got it.   Understood.   Okay.   So on

 22              page 4, about halfway down on this page, the

 23              document describes the charges of the three

 24              subcommittees on the Committee on Race Neutral

 25              Strategies.        Do you see that?



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   1                     A.      Yes.

   2                     Q.      Okay.   And the second one there --

   3             actually the number 2 -- describes the charge of

   4             the data analytic subcommittee.         Do you see that?

   5                     A.      Yes.

   6                     Q.      Okay.   And that identifies you and

   7             Mr. Curran as the co-chairs of that subcommittee,

   8             correct?

   9                     A.      Yes.

 10                      Q.      Okay.   So I'm going to read part of that

 11              first sentence where it describes that charge.                It

 12              says that the committee, quote, "...was charged to

 13              analyze whether race neutral alternatives

 14              identified by the literature review subcommittee

 15              are workable for the University."

 16                      A.      Yes.

 17                      Q.      I'll stop there.   Did I read that

 18              correctly?

 19                      A.      Yes.

 20                      Q.      Okay.   So I understand that at least to

 21              your knowledge the committee has not actually,

 22              using data, analyzed whether any particular race

 23              neutral strategy works or what the results would

 24              be if using it, correct?

 25                      A.      We haven't specifically analyzed data



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   1             asking that question, but we've -- we have -- to

   2             be very clear, we've done preparatory work and

   3             other analyses that are needed before we can do

   4             that.

   5                     Q.      Understood.   So one of the things I want

   6             to ask about in terms of that preparatory work,

   7             has the literature review subcommittee identified

   8             alternatives that your committee has decided we

   9             will evaluate that eventually once we're ready or

 10              have you not gotten that far yet?

 11                      A.      Well, there's parts to your question --

 12              the -- the -- the literature did identify some

 13              race neutral strategies, some of which were

 14              determined to be, as I recall, not viable for

 15              various reasons.        I do not recall all of those

 16              reasons.        And we are considering those strategies,

 17              but we haven't gotten to the point where we are

 18              evaluating as a data analytic subcommittee

 19              specific -- specific -- specific strategies.

 20                      Q.      Understood.   So going back to something

 21              you mentioned about the literature review

 22              subcommittee, you said they have identified some

 23              race neutral strategies and some of those that

 24              they've identified have been deemed not appliable?

 25                      A.      Well, they're at least problematic and I



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   1                     Q.      Okay.    It reads, "Key findings reflect

   2             that although underrepresented minority status was

   3             uniquely predictive of admission, this was just

   4             one of a larger number of unique predictors."                    Did

   5             I read that correctly?

   6                     A.      Yes.

   7                     Q.      Okay.    What does it mean that URM status

   8             -- and by URM I mean, underrepresented minority --

   9             what does it mean that that status was uniquely

 10              predictive of admissions?

 11                                     MS. FLATH:    Objection.

 12                      A.      My -- this is not precisely how I would

 13              word it although I had an opportunity to revise

 14              it, I chose not to, but what it refers to in my

 15              understanding is it refers to statistical

 16              significance of the effect.

 17                      Q.      And -- and what specifically?

 18                      A.      In this case, there are variables --

 19              when you say, "specifically," do you mean the

 20              underrepresented minority status part?

 21                      Q.      Yes.    So I'm ask -- so I'm trying to

 22              figure out here this -- this report describes

 23              underrepresented minority status as uniquely

 24              predictive of admission.            And I'm trying to

 25              understand what that phrase, "uniquely predictive



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   1             of admissions," means.

   2                     A.      Yes.    In this situation ---

   3                     Q.      Uh-huh (yes).

   4                     A.      --- my understanding and recollection to

   5             the best of my ability is that this refers to the

   6             coefficient in the equation being statistically

   7             significant ---

   8                     Q.      Okay.

   9                     A.      --- for that variable in question.

 10                      Q.      Which in layman's terms, what does that

 11              mean?

 12                      A.      Well, there are different criteria for

 13              statistical significance and it varies.             A most

 14              common one would be .05 level, so statistical

 15              significance usually means below that.

 16                      Q.      Okay.    So ---

 17                      A.      But it doesn't -- but .05 is not a magic

 18              number.        It can be a -- it -- it can be more vague

 19              than that.

 20                      Q.      Okay.    So ---

 21                      A.      I'm sorry.    It can be different numbers

 22              than .05.        It's usually specified much of the

 23              time.

 24                      Q.      Understood.    Understood.   Okay.     So if

 25              the coefficient for URM status is statistically



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   1                     A.      I just know that the larger it is, it

   2             has a bigger impact, smaller has a smaller impact.

   3                     Q.      Okay.    So this is what you mean by

   4             variable importance, which is the header of these

   5             two little tables?

   6                     A.      That is correct.

   7                     Q.      So the larger change in the accuracy of

   8             the model based on the removal of the -- that

   9             variable the more important the variable is in

 10              terms of this exhibit?

 11                      A.      That is correct.

 12                      Q.      Okay.    So in other words, residence is

 13              the most important variable by that analysis,

 14              correct?

 15                      A.      Yes.

 16                      Q.      Okay.    What is the practical import of

 17              that?

 18                                     MS. FLATH:    Objection.

 19                      Q.      (Mr. McCarthy)      And maybe I can ask it

 20              another way because I'm trying to understand.

 21              Does that mean that being a North Carolina

 22              resident has more effect on an applicant's

 23              admission chances than any other of these

 24              characteristics here?

 25                      A.      Generally speaking it means that it has



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   1             a large impact by itself compared to the other

   2             ones -- large impact by itself compared to the

   3             other ones.

   4                     Q.      Okay.   So by itself, considering all of

   5             these individually, it has a larger effect than

   6             these other ones?

   7                     A.      According to these analyses.

   8                     Q.      According to these analyses.     Okay.

   9             Would there be other analyses that would suggest

 10              that that's not the case?

 11                      A.      Potentially.

 12                      Q.      Okay.   Why would it show residence to be

 13              more important under one kind of analysis and then

 14              not as important under another kind of analysis?

 15                      A.      There are many possible ways that that

 16              could happen.

 17                      Q.      Is it because there are numerous

 18              different ways to measure what you described as

 19              importance?

 20                      A.      That's part of it.   There are numerous

 21              ways, but there are other factors as well.

 22                      Q.      What would those factors be?

 23                      A.      An example would be, how a variable

 24              might interact with other variables.         In the

 25              presence of interaction you might have a variable



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